                    Exhibit 23
Case 2:23-cv-00071-TRM-JEM Document 235-23 Filed 06/28/24 Page 1 of 3 PageID #:
                                    6286
Property Type: 08 Commercial                                                          ASSESSOR OF PROPERTY - PROPERTY RECORD CARD
200 MAIN ST E #5                                                             Subdivision DOWNTOWN TOWERS                                                            TAX YEAR 2024          090    046M           F       016.00 C 005
                          Property Address                                     BK 14       PG 280     BLOCK                  LOT            TRACT                   WASHINGTON          JUR CONTROL MAP GROUP PARCEL PI S/I
                    Ownership and Mailing Address                            Alt Subdiv                                                                      City 90371 Johnson City           Map 046N   Updated 03/05/2024
BLOUNT INVESTMENTS LLC                                                         BK          PG         BLOCK                  LOT            TRACT           SSD1 372 Johnson City Redevelopmen Dist 09    Printed 06/20/2024
3548 W MARKET ST                                                             Additional LEVEL #5 3070 SQ FT                                                 SSD2
JOHNSON CITY TN 37604                                                        Description                                                                                                                Card: 1 of 2
                                                                                                                                                                 Total Land Units         1
                                                                             Dimensions                                                                              Deed Acres           0
                                                                                                                                                                Calculated Acres          0             Page: 1 of 2

                                       DWELLING DATA                                                                                                                                                      APPRAISED VALUES
Improv Type                                       Lower Level                                                                                                                                    LAND                               4,300
Stories                                           Heating/Air                                                                                                                                    IMPROVEMENTS                     625,500
Exterior Wall                                     Attic                                                                                                                                          TOTAL APPRAISAL                  629,800
Heating Fuel                                                                                                                                                                                     GREENBELT APR
Year Built              Eff Yr Built           Rooms                 Bedrooms                                                                                                                    ASSESSMENT                       251,920
Full Baths              Half Baths             Add'l Fixtures        Total Fixtures                                                                                                              ASSESSED @                          40%
Wood FP Stacks          Openings               Add'l Sty             PreFab           Add'l Sty                                                                                                  APPROACH                    COST VALUE
Info Src      Occ       Rental: Src            Year            Amount                 Sched                                                                                                                   Value Correlation
Foundation                                           Floor Finish                                                                                                                                                                   Value
Floor System                                         Interior Finish                                                                                                                             COST                             629,800
Party Wall                                           Paint/Decor                                                                                                                                 INCOME
Struct. Frame                                        Bath Tile                                                                                                                                   MARKET
Roof Framing                                         Electrical                                                                                                                                               PARCEL DATA
Roof Cov/Deck                                        Shape                                                                                                                                       NBHD               P10
Cab/Millwork                                                                                                                                                                                     Review Flag
Quality                             Condition                      Class:                                                                                                                        Living Units
Prorate        Date             Factor            % Comp            Cost & Design 0                                                                                                              Water/Sewer
Depr: Physical      Other Phys        Functional     External       % Good 100                                                                                                                       01 Public / Public
                                                                                                                                                                                                 Electricity
                      Factors
                                                                                                                                                                                                     01 Public
 GFLA     Area     Story    Const Grade       SFLA    Depr Yr Eff Age County Factor
                                                                                                                                                                                                 Gas
                                                        2024                  1.00
                                                                                                                                                                                                     02 Public - Manufactured Gas
      Base Dwelling Add'l Areas         Total    $/SqFt   % Complete                                                                                                                             Topo               0 Level
RCN                                                       Dwelling Factor                                                                                                                        Road Type          7 Curb/Gutter Paved
RCNLD                                                     Dwelling Value                                                                                                                         Delete Next Year
AREAS: Lower Floor First & Above                   Area     % SFLA                Rate            RCN                                                                                            Greenbelt Review N
                                                                                                                                                                                                 Land Apr Date 09/11/2008 By 18
                                                                                                                                                                                                 # Improvements 1
                                                                                                                                                                                                 # Mobile Homes 0
                                                                                                                                                                                                 NH Trend           0 STABLE
                                                                                                                                                                                                 Other
                                                                                                                                                                                                 Land Use Code      11
                                                                                                                                                                                                 Zoning
                                                                                                                                                                                                               GREENBELT
                                                                                                                                                                                                 Year             Recorded
                                                                                                                                                                                                 App#             Book/Pg
                                                                       OUTBUILDINGS and YARD ITEMS                                                                                                           ENTRANCES
                                                                                                                                                                                     Total OBY
Code Description               Yr Blt Eff Yr              Area Grade Units Add'l Description Class Rate Cnd                        RCN %Good Prort       Adj Fact          Value                 Date       Code           ID
                                                                                                                                                                                       Value
                                                                                                                                                                                                 02/01/2024 00 Pcl Review  57
                                                                                                                                                                                                          BUILDING PERMITS
                                                                                                                                                                                                 Date       Type Status Last Visit
                                                                    MARKET LAND                                                                                                AGRICULTURAL / GREENBELT LAND
# Type Table Code Acc Front Depth                 Units          Rate Infl  Fld Topo Loc Size Mkt Dep               Adj Rate          Value Class   #   Mkt Line    Use Type    Soil Type Access     Acres           Rate      Use Value
1  U    ZZ 01            0      0                     1       4,300.00                             100               4,300.00          4,300                                              Totals:
                        Totals:                       1                                                                               4,300
                                                                   SALES                                                                                                      NOTES
Date       Book        Page                  Price          Adj Price V/I     Instr    A/R        Owner                                  14.29% COMMON; PENTHOUSE SUITE; 2022 COMPLETE REMODEL ON MARKET FOR $725,000
05/27/2022 R1101       I1535               800,000           800,000 I        WD       P          BLOUNT INVESTMENTS LLC                 ZONED B2; CMN & LAND EQUALLY DIVIDED
10/19/2015 R884        I2118               225,000           225,000 I        WD       A          WILLIAMS SEAN C
03/30/1998 R135        I779                220,000           220,000 I        WD       A          TORBETT CRAIG L & LISA C
02/28/1994 R54         I1972                                                                      200 E MAIN STREET CORP


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CA330TN                                                                              6287
                                                                       State of Tennessee - IMPACT System                                                                                                       402300      56.55
Property Type: 08 Commercial                                                      ASSESSOR OF PROPERTY - PROPERTY RECORD CARD
200 MAIN ST E #5                                                          Subdivision DOWNTOWN TOWERS                                                    TAX YEAR 2024       090    046M            F      016.00 C 005
                         Property Address                                   BK 14       PG 280      BLOCK          LOT           TRACT                   WASHINGTON          JUR CONTROL MAP GROUP PARCEL PI S/I
                   Ownership and Mailing Address                          Alt Subdiv                                                              City 90371 Johnson City           Map 046N   Updated 03/05/2024
BLOUNT INVESTMENTS LLC                                                      BK          PG          BLOCK          LOT           TRACT           SSD1 372 Johnson City Redevelopmen Dist 09    Printed 06/20/2024
3548 W MARKET ST                                                          Additional LEVEL #5 3070 SQ FT                                         SSD2
JOHNSON CITY TN 37604                                                     Description                                                                 Total Land Units         1             Card: 2 of 2
                                                                          Dimensions                                                                      Deed Acres           0
                                                                                                                                                     Calculated Acres          0             Page: 2 of 2

                                COMMERCIAL BUILDING DATA                                                                                                                                    APPRAISED VALUES
Bldg #                                        Identical Units                                                                                                                      LAND                                4,300
Yr Built      1921     Effective Year 1994 Market Adj                     Proration                                                                                                IMPROVEMENTS                      625,500
Struct Code 12 Condo Com                      C&D           1             Date                                                                                                     TOTAL APPRAISAL                   629,800
Grade         1+ Average +                    Bldg Value 600,450          Factor                                                                                                   GREENBELT APR
Imp Name                                                        Class                                                                                                              ASSESSMENT                        251,920
Other Imps                                                      Other Value                                                                                                        ASSESSED @                           40%
RCN                 857,790 RCNLD               600,450 Value $/SqFt                195.59                                                                                         APPROACH                    COST VALUE
RCN $/SqFt           279.41 %Complete                      Area Sum                  3,070                                                                                                      Value Correlation
%Good                    70 Bldg Factor                 1 Bus Living Area            3,070                                                                                                                             Value
%Good Ovr                    Cost Value         600,450                                                                                                                            COST                              629,800
Info Src 3      Occ 0     Rental:Src       Year           Amount                 Sched                                                                                             INCOME
Foundation       03 Spread Footing              Floor Finish 11 Carpet Combination                                                                                                 MARKET
Floor System     06 Structural Slab             Interior Finish 07 Drywall                                                                                                                       PARCEL DATA
Party Wall       00 None                        Paint/Decor 03 Average                                                                                                             NBHD               P10
Struct. Frame 02 Masonry Pil/Stl                Plumbing Fix 11                                                                                                                    Review Flag
Roof Framing 07 Reinforced Concrete             Bath Tile        00 None                                                                                                           Living Units
Roof Cov/Deck 10 Built-Up Composition           Electrical       03 Average                                                                                                        Water/Sewer
Cab/Millwork     03 Average                     Heating/Air      08 Hvac Pkg                                                                                                           01 Public / Public
                                                Shape            01 Rectangle                                                                                                      Electricity
Commercial Interior/Exterior                        Depr Yr 2024 County Factor 1.00                                                                                                    01 Public
Line 1 Section 01          From 05 To 05 YrBlt                 EffYr        Area 3,070                                                                                             Gas
Use Type 12 Condo Com                  WallHt 12       Exterior Wall 11 Common Brick                                                                                                   02 Public - Manufactured Gas
Structural Frame 2 Masonry Pil/Stl                       Perimeter 3          Class                                                                                                Topo               0 Level
Finish 100 Partition 1 Base, Rm Sz 400 Heat 2 Steam Heat Or Air 1 Heating And Cooling                                                                                              Road Type          7 Curb/Gutter Paved
             Plumbing 2 Normal          Lighting 2 Normal            Condition A Function A                                                                                        Delete Next Year
Depr: Physical 30.00 Other Phys            Functional           External         % Good 70.00                                                                                      Greenbelt Review N
VALUES         Other Features                   RCN 857,790             SqFt Rate 256.34                                                                                           Land Apr Date 09/11/2008 By 18
                 % Complete                 User Adj 2.15              Cost Value 600,450                                                                                          # Improvements 1
                                                                                                                                                                                   # Mobile Homes 0
Commercial Features
Line Int/Ext Structure Code       Dim 1          Dim 2     Units     Elev Stops          RCN                                                                                       NH Trend           0 STABLE
                                                                                                                                                                                   Other
                                                                                                                                                                                   Land Use Code      11
                                                                                                                                                                                   Zoning
                                                                                                                                                                                                  GREENBELT
                                                                                                                                                                                   Year             Recorded
                                                                                                                                                                                   App#             Book/Pg
                                                                      OUTBUILDINGS and YARD ITEMS                                                                      Total OBY                  ENTRANCES
Code   Description            Yr Blt Eff Yr              Area Grade Units Add'l Description Class  Rate Cnd              RCN %Good Prort      Adj Fact         Value     Value     Date          Code             ID
CMN    Common Area            1996 1996                     1   C    1                            25040 UN             25,040 100                1            25,040               02/01/2024 00 Pcl Review 57
                                                                                                                                                                         25,040
                                                                                                                                                                                               BUILDING PERMITS
                                                                                                                                                                                   Date        Type     Status Last Visit
                                                                 MARKET LAND                                                                                     AGRICULTURAL / GREENBELT LAND
# Type Table Code Acc Front Depth             Units          Rate  Infl Fld Topo Loc Size Mkt Dep           Adj Rate       Value Class   #   Mkt Line    Use Type Soil Type Access     Acres            Rate      Use Value
                            Totals:                                                                                                                                         Totals:
                                                                 SALES                                                                                                   NOTES
Date       Book        Page                    Price      Adj Price V/I   Instr    A/R   Owner




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CA330TN                                                               State of Tennessee - IMPACT System                                                                                          402300       56.55
                                                                                     6288
